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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                              USDC SDNY
                                                                           DOCUMENT
 RL 900 PARK, LLC,                                                         ELECTRONICALLY FILED
                                                                           DOC #:
                              Plaintiff,                                   DATE FILED: 10/16/2020

                  -against-

 SIMONE ENDER, et al.                                                1:18-cv-12121 (MKV)

                              Defendants,                                   ORDER

                  -and-

 CENTRAL PARK PARTNERS NY LLC,

                              Intervenor-Defendant

MARY KAY VYSKOCIL, United States District Judge:

       The Court held a conference with the Parties on October 16, 2020 to address various

discovery-related issues. This Order memorializes the Court’s rulings made on the record.

       IT IS HEREBY ORDERED that Defendant Central Park Partners NY LLC (“CPP”) must

produce all text messages, emails or other documents responsive to Plaintiff’s discovery

demands on or before October 23, 2020. Thereafter, CPP must represent in writing to Plaintiff

that all responsive documents have been produced.

       IT IS FURTHER ORDERED that CPP must produce to Plaintiff on or before October 23,

2020, documents reflecting the relationship between Mendy Goldstein and CPP including the

grant of authority to Goldstein to act as agent for CPP and the scope of that authority.

       IT IS FURTHER ORDERED that Plaintiff is granted leave to depose Arthur Spitzer,

Principal of CPP, in his personal capacity, in this case notwithstanding that discovery has closed.

The deposition is to occur on or before October 30, 2020.
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        IT IS FURTHER ORDERED that Defendant Monique Silberman and her counsel must

represent in writing to Plaintiff that all documents responsive to Plaintiff’s discovery demands

have been produced. Ms. Silberman must also state in writing whether responsive or potentially

responsive documents were destroyed before or during litigation, who destroyed them, and when

and under what circumstances and for what reason the documents were destroyed.

        IT IS FURTHER ORDERED that to the extend responsive documents were destroyed,

Plaintiff may file a motion for sanction against Ms. Silberman.

        IT IS FURTHER ORDERED that the Parties will brief anticipated summary judgment

motions on the following schedule:

   -    Plaintiff’s Motion for Summary Judgment must be filed by October 30, 2020;
   -    Any Defendant’s Combined Opposition or Cross-Motion must be filed by November 30,
        2020;
   -    Plaintiff’s Combined Opposition to any Cross-Motion and Reply in Support of its Motion
        must be filed by December 14, 2020;
   -    Any Defendant’s Reply in Support of its Cross-Motion must be filed by December 28,
        2020.

        By separate order today, the Court is referring the Parties to mediation with the SDNY

Mediation Program. Defendant Silberman and Messrs. Goldstein and Spitzer (representatives of

CPP) must be present at the mediation on behalf of Defendants and Julie Quigtner and Brian

Morjain must attend the mediation on behalf of Plaintiff. In addition, a person with authority to

consensually resolve the dispute among the parties must attend if one of the representatives for

either side lacks authority. Within one week of the mediation session, the Parties must submit a

joint letter to the Court describing the status of the Parties’ mediation, including whether it was

successful and whether discussions remain ongoing.

        FAILURE TO COMPLY WITH THIS ORDER, PRIOR ORDERS OF THE

COURT, AND WITH A PARTY’S DISCOVERY OBLIGATIONS MAY RESULT IN

SANCTIONS, POTENTIALLY INCLUDING MONETARY SANCTIONS,

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PRECLUSION OF EVIDENCE OR DEFENSES, OR STRIKING OF THE PARTY’S

COMPLAINT OR ANSWER.

SO ORDERED.


                                          _________________________________
Date: October 16, 2020                          MARY KAY VYSKOCIL
      New York, NY                              United States District Judge




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